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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                             __________ District of __________
                                                                     COLUMBIA


                      UNITED STATES                            )
                             Plaintiff                         )
                                v.                             )      Case No. 21-CR-0041(CJN)
                     MICHAEL CURZIO                            )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

        MICHAEL CURZIO                                                                                                 .


Date:             2/4/21
                                                                                         Attorney’s signature

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